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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                            §
    In re:                                                  §
                                                            §       Chapter 11
    MARSHALL BROADCASTING                                   §
    GROUP, INC., 1                                          §       Case No. 19-36743 (DRJ)
                                                            §
                  Debtor.                                   §
                                                            §

                               DEBTOR’S UNOPPOSED EMERGENCY
                            MOTION FOR ORDER APPOINTING MEDIATOR

    THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
    OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
    RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
    A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOUR RESPONSE MUST STATE
    WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
    THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
    MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
    UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
    HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

    EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE MOTION ON
    AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU
    OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
    CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE.

    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

             Marshall Broadcasting Group, Inc., the above-captioned debtor and debtor in possession

(the “Debtor”), for its Unopposed Emergency Motion for Order Appointing Mediator (the

“Motion”), respectfully represents:

                                         JURISDICTION AND VENUE

             1.        The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             2.        Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


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    The last four digits of Debtor’s federal tax identification number are (7805).
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                                    PROCEDURAL HISTORY

         1.       On December 3, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

         3.       Pursuant to sections 1107 and 1108 of the Bankruptcy Code, the Debtor remains

in possession of its property and is managing its business as a debtor in possession. No trustee,

examiner, or official committee has been appointed.

                                         BACKGROUND

         4.       The Debtor is the licensee of three television stations: KMSS-TV, Shreveport,

Louisiana, KPEJ-TV, Odessa, Texas and KLJB, Davenport, Iowa (the “MBG Stations”). The

Debtor is a small minority-owned company that provides programming through its affiliation

agreements with FOX broadcasting corporation in all markets.

         5.       The Debtor acquired the MBG Stations from Nexstar Broadcasting, Inc.

(“Nexstar” and together with the Debtor, the “Mediation Parties”) on January 1, 2015. Due to

various disputes between the Mediation Parties, both Mediation Parties have been engaged in

litigation in New York State court since April 3, 2019. The Debtor also filed a complaint against

Nexstar before the Federal Communications Commission on June 12, 2019.

         6.       The Mediation Parties have agreed to proceed to non-binding mediation (the

“Mediation”) in an attempt to resolve the outstanding issues between them. To that end, the

Mediation Parties have mutually agreed to United States Bankruptcy Judge Christopher M.

López serving as mediator (the “Mediator”), and, upon information and belief, Judge López has

agreed to accept the engagement subject to this Court entering an order approving mediation and

appointing the Mediator.




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         7.       The Mediation Parties have contacted Judge López’s chambers, and reserved

February 13-14, 2020, as the dates for mediation in Houston, Texas, with the exact location to be

determined between the Mediation Parties and the Mediator. The Mediation Parties expect the

Mediation to last up to two days, but reserve the right to request additional days of mediation,

should they and the Mediator so agree.

                                      RELIEF REQUESTED

         8.       By this Motion, the Debtor seeks entry of an order, pursuant to Bankruptcy Local

Rule 1075-1 and section Q of the Procedures for Complex Chapter 11 Cases in the Southern

District of Texas, appointing Judge López as Mediator.

         9.       The Debtor respectfully submits that approval of the relief requested herein is in

the best interests of its estate and creditors. The requested relief will provide the Mediation

Parties with a cost-efficient means to negotiate a global resolution of their disputes with the goal

of avoiding the time and expense of an adversary proceeding, and various objections to claims

and other relief the Debtor may seek from this Court during the course of this chapter 11 case.

                              EMERGENCY RELIEF REQUESTED

         10.      The Debtor requests emergency consideration of this Motion. Emergency relief is

justified under the circumstances because the Mediation Parties have agreed to mediate on

February 13-14, 2020 and require the entry of an order granting this Motion prior to that time.

Further, in light of the sale milestones contained in the final cash collateral order [Docket No.

107], it is critical for the mediation to take place in advance of the auction deadline, which is

presently scheduled as March 19, 2020.

                                              NOTICE

         11.      Notice of this Motion will be provided to: (a) the Office of the United States

Trustee for the Southern District of Texas; (b) counsel to Mission Broadcasting, Inc. as



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administrative agent under the Debtor’s credit agreement; (c) counsel to Nexstar; and (d) all

parties who have requested notice pursuant to Bankruptcy Rule 2002.

                                       NO PRIOR REQUEST

         12.      No prior request for the relief sought in this Motion has been made to this or any

other court.

                                           CONCLUSION

         WHEREFORE, the Debtor respectfully requests that the Court enter an order on an

emergency basis, substantially in the form attached hereto as Exhibit A, (i) appointing Judge

López as Mediator and (ii) granting such other and further relief as may be just and proper.




                             [remainder of page intentionally left blank]




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         Respectfully submitted this 23rd day of January, 2020.

                                             GRAY REED & McGRAW LLP

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                                                     -and-

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                                                    ehk@lnbyb.com

                                             COUNSEL TO THE DEBTOR




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                            CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that on multiple dates leading up to the filing of this
Motion, counsel to the Debtor conferred with counsel to Nexstar, and counsel to Nexstar has
indicated that Nexstar does not oppose the relief requested herein. Further, on several dates
leading up to the filing of this Motion, counsel to the Debtor communicated with Judge López’s
chambers, and Judge López’s chambers has indicated that he is willing and able to act as
Meditator for this matter on February 13-14, 2020.

                                                   /s/ Jason S. Brookner
                                                   Jason S. Brookner



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 23rd day of January, 2020, he caused a true
and correct copy of the foregoing document to be served via the Court’s CM/ECF Notification
System on those parties who have so-subscribed, and via electronic mail to counsel for Nexstar
and counsel for Mission Broadcasting.

                                             /s/ Jason S. Brookner
                                             Jason S. Brookner




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                            §
    In re:                                                  §
                                                            §       Chapter 11
    MARSHALL BROADCASTING                                   §
    GROUP, INC., 1                                          §       Case No. 19-36743 (DRJ)
                                                            §
                  Debtor.                                   §
                                                            §

                         ORDER GRANTING DEBTOR’S UNOPPOSED
                   EMERGENCY MOTION FOR ORDER APPOINTING MEDIATOR
                                (Relates to Docket No. ___)

             Upon the Unopposed Emergency Motion for Order Appointing Mediator (the “Motion”)

filed by Marshall Broadcasting Group, Inc., the above-captioned debtor and debtor in possession

(the “Debtor”); and the Court having jurisdiction to consider the Motion pursuant to 28 U.S.C.

§§ 157 and 1334, and consideration of the Motion being a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court finding that the relief requested in the Motion is in the best interests of

the Debtor and its estate; and it appearing that due and sufficient notice of the Motion has been

provided by the Debtor and that no other or further notice is required; and after due deliberation

and good cause appearing therefor, it is HEREBY ORDERED THAT:

             1.        The Motion is GRANTED as set forth herein. 2

             2.        The requested mediation between Nexstar and the Debtor is approved.                       The

Honorable Christopher M. López, U.S. Bankruptcy Judge for the Southern District of Texas, is

hereby appointed and approved to serve as mediator for purposes of the Mediation.

             3.        The terms and conditions of this Order are immediately effective and enforceable


1
    The last four digits of Debtor’s federal tax identification number are (7805).
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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upon its entry.

         4.       The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         5.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



Signed:                  , 2020
                                                DAVID R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE




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